                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

                                                     :
  GARY KOOPMANN, TIMOTHY KIDD and
                                                     :
  VICTOR PIRNIK, Individually and on Behalf of
                                                     :    No. 15 Civ. 7199 (JMF)
  All Others Similarly Situated,
                                                     :
                               Plaintiffs,           :
                                                     :
                          v.                         :
                                                     :
  FIAT CHRYSLER AUTOMOBILES N.V.,                    :
  FCA US LLC, SERGIO MARCHIONNE,                     :
  SCOTT KUNSELMAN, MICHAEL DAHL,                     :
  STEVE MAZURE, and ROBERT E. LEE,                   :
                                                     :
                               Defendants.           :
                                                     :
                                                     :


                DECLARATION OF JOSHUA S. LEVY IN OPPOSITION
               TO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

               I, Joshua S. Levy, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

               1.      I am a member of the bar of this Court and am associated with the law

firm of Sullivan & Cromwell LLP, counsel for Defendants in the above-captioned action.

               2.      I respectfully submit this Declaration to provide the Court with certain

materials cited in Defendants’ Memorandum of Law in Opposition to Plaintiffs’ Motion for

Class Certification.

               3.      Attached hereto as Exhibit 1 is a true and correct copy of the Expert

Report of Paul A. Gompers, Ph.D., dated February 13, 2018.

               4.      Attached hereto as Exhibit 2 is a true and correct copy of excerpts of the

transcript of the deposition of Zachary Nye, Ph.D., dated February 2, 2018.
               5.     Attached hereto as Exhibit 3 is a true and correct copy of a press release

issued by the National Highway Traffic Safety Administration (“NHTSA”) titled U.S. DOT

Announces Fiat Chrysler Public Hearing and Issues Special Order, dated May 18, 2015, bearing

production numbers FCA-PIRNIK-000993751 to FCA-PIRNIK-000993752.

               6.     Attached hereto as Exhibit 4 is a true and correct copy of a Wall Street

Journal article titled Regulators Step Up Pressure on Chrysler Over Recalls, dated May 18,

2015, which is also available at https://www.wsj.com/articles/regulators-probing-fiat-chrysler-

recall-performance-1431971186.

               7.     Attached hereto as Exhibit 5 is a true and correct copy of a New York

Times article titled Regulators to Hold Hearing on Fiat Chrysler Safety Response, dated May 18,

2015, which is also available at https://nyti.ms/1dfLM9w.

               8.     Attached hereto as Exhibit 6 is a true and correct copy of a USA Today

article titled Feds order Fiat Chrysler to defend pace of 20 recalls, dated May 18, 2015, which is

also available at https://www.usatoday.com/story/money/cars/2015/05/18/nhtsa-fiat-chrysler-fca-

dot-recall-repairs-hearling/27535245/.

               9.     Attached hereto as Exhibit 7 is a true and correct copy of excerpts of the

transcript of a public hearing held by NHTSA titled Public Hearing to Determine Whether Fiat

Chrysler Has Reasonably Met Its Obligations to Remedy Recalled Vehicles and To Notify

NHTSA, Owners, and Purchasers of Recalls, dated July 2, 2015, which is also available at

https://www.autosafety.org/wp-content/uploads/2015/07/Transcript-FCA-Hearing-2.pdf.




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               10.    Attached hereto as Exhibit 8 is a true and correct copy of a New York

Times article titled Fiat Chrysler Accused of Neglect in 23 Recalls, dated July 2, 2015, which is

also available at https://www.nytimes.com/2015/07/03/business/fiat-chrysler-accused-of-neglect-

in-23-recalls.html.

               11.    Attached hereto as Exhibit 9 is a true and correct copy of an analyst report

by Morningstar Equity Research titled FCA May Face NHTSA Fines for Dilatory Recall

Practices; EUR 20 Fair Value Estimate Unchanged, dated July 7, 2015.

               12.    Attached hereto as Exhibit 10 is a true and correct copy of a Detroit News

article titled Feds not done probing Fiat Chrysler’s recall efforts, dated July 21, 2015, which is

also available at http://www.detroitnews.com/story/business/autos/chrysler/2015/07/21/feds-

done-probing-fiat-chryslers-recall-efforts/30437677/.

               13.    Attached hereto as Exhibit 11 is a true and correct copy of an IHS Global

Insight article titled US safety regulator likely to impose penalties on FCA over recall handling,

dated July 3, 2015.

               14.    Attached hereto as Exhibit 12 is a true and correct copy of Detroit News

article titled US plans to penalize Fiat Chrysler over delayed recalls, dated July 2, 2015, which

is also available at http://www.detroitnews.com/story/business/autos/chrysler/2015/07/02/fiat-

chrysler-nhtsa-hearing/29620337/.

               15.    Attached hereto as Exhibit 13 is a true and correct copy of the Consent

Order between FCA US LLC (“FCA US”) and NHTSA, dated July 24, 2015.

               16.    Attached hereto as Exhibit 14 is a true and correct copy of a press release

issued by FCA US titled FCA US Announces Kunselman Retirement, dated October 27, 2015,

which is also available at http://media.fcanorthamerica.com/print.do?id=17071.



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               17.      Attached hereto as Exhibit 15 is a true and correct copy of an IHS Global

Insight article titled FCA’s senior quality executive to retire, company recalls Ram and

Cherokee, dated October 28, 2015.

               18.      Attached hereto as Exhibit 16 is a true and correct copy of a Wall Street

Journal article titled Fiat Chrysler Safety Chief to Retire, dated October 27, 2015, which is also

available at https://www.wsj.com/articles/fiat-chrysler-safety-chief-to-retire-1445961406.

               19.      Attached hereto as Exhibit 17 is a true and correct copy of a St. Louis

Post-Dispatch article titled Fiat Chrysler to pay $70 million fine to U.S. government, dated

December 10, 2015, which is also available at http://www.stltoday.com/business/local/fiat-

chrysler-to-pay-million-fine-to-u-s-government/article_dad6265d-1402-5ea5-a921-

c8c7fd7564ee.html.

               20.      Attached hereto as Exhibit 18 is a true and correct copy of a Washington

Post article titled Fiat Chrysler hit with $70 million federal fine for safety reporting failures,

dated December 10, 2015, which is also available at https://www.washingtonpost.com/local/traff

icandcommuting/fiat-chrysler-hit-with-70-million-federal-fine-for-safety-reporting-failures/

2015/12/10/0eb1864c-9f55-11e5-a3c5-c77f2cc5a43c_story.html?utm_term=.f7acf8087a4b.

               21.      Attached hereto as Exhibit 19 is a true and correct copy of a Wall Street

Journal article titled U.S. Fines Fiat Chrysler $70 Million for Safety-Reporting Lapses, dated

December 10, 2015, which is also available at          https://www.wsj.com/articles/u-s-fines-fiat-

chrysler-70-million-for-safety-reporting-lapses-1449764405.

               22.      Attached hereto as Exhibit 20 is a true and correct copy of excerpts of Fiat

Chrysler Automobiles N.V.’s filing with the Securities and Exchange Commission on Form 6-K,

dated August 4, 2016.



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              23.     Attached hereto as Exhibit 21 is a true and correct copy of a press release

issued by the Environmental Protection Agency titled United States Files Complaint Against Fiat

Chrysler Automobiles for Alleged Clean Air Act Violation, dated May 23, 2017, which is also

available    at     https://www.epa.gov/newsreleases/united-states-files-complaint-against-fiat-

chrysler-automobiles-alleged-clean-air-act.

              24.     Attached hereto as Exhibit 22 are true and correct copies of documents

produced by Plaintiffs in this action on February 9, 2018, bearing production numbers

Koopmann0022 to Koopmann0023.

              I declare under penalty of perjury that the foregoing is true and correct.

              Executed this 13th day of February 2018 in New York, New York.


                                                            /s/ Joshua S. Levy
                                                            Joshua S. Levy




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